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LOCAL 298 HEALTH BENEFIT FUND |
LU.A.N. & PW. AFL-CIO

   

December 27, 2018
Dear Timothy Kohlhaus,

This notice contains important information about your right to continue your health care
coverage in the Local 298 Health Benefit Fund (the Plan), as well as other health coverage
alternatives that may be available to you through the Health Insurance Marketplace.
Please read the information contained in this notice very carefully.

To elect COBRA continuation coverage, follow the instructions on the next page to complete the
enclosed Election Form and submit it to us.

If you do not elect COBRA continuation coverage, your coverage under the Plan will end on

 

10/31/2018 due to:
CI End of employment C1 Reduction in hours of employment
QO Death of employee QO Divorce or legal separation
UH Entitlement to Medicare CO Loss of dependent child status

Each person (“qualified beneficiary”) in the category(ies) checked below is entitled to elect
COBRA continuation coverage, which will continue group health care coverage under the Plan
for up to 18 months:

Ci Employee or former employee
C1) Spouse or former spouse
1 Dependent child(ren) covered under the Flan on the day before the event that caused
the loss of coverage
CI Child who is losing coverage under the Plan because he or she is no
longer a dependent under the Plan
elected, COBRA continuation coverage will begin on 11/1/2018 and can last until 4/30/2020.
Your COBRA continuation coverage will be the same as you are currently eligible for under the
Plan.

COBRA continuation coverage will cost (per month): $685 Single; $1,830 Family; $1,420
Member/Spouse; $1,265 Member/Child. Important additional information about payment: for
COBRA continuation coverage is included in the pages following the Election Form.

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420 West Merrick Road, Valley Stream, NY 11586
Telephone: 516-872-6690 201-864-8640 Fax 516-872-6409 >a

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There may be other coverage options for you and your family. When key parts of the health care
law take effect, you'll be able to buy coverage through the Health Insurance Marketplace. In the
Marketplace, you could be eligible for a new kind of tax credit that lowers your monthly
premiums right away, and you can see what your premium, deductibles, and out-of-pocket costs
will be before you make a decision to enroll. Being eligible for COBRA does not Hmit your
eligibility for coverage for a tax credit through the Marketplace. Additionally, you may qualify
for a special enrollment opportunity for another group health plan for which you are eligible
(such as a spouse’s plan), even if the plan generally does not accept late enrollees, if you request

enrollment within 30 days.

If you have any questions about your tights to COBRA continuation coverage, you should
contact the Fund Office at: 516-872-6690.

 

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COBRA Continuation Coverage Election Form

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Instructions: To elect COBRA continuation coverage, complete this Election Form and return it to us.:
Under federal law, you must have 60 days after the date of this notice to decide whether you want to:

elect COBRA continuation coverage under the Plan.
**PLEASE NOTE THAT YOUR COBRA COVERAGE WILL NOT BE ACTIVATED UNTIL

PAYMENT IS RECEIVED IN THE FUND OFFICE** .
Send completed Election Form to the Fund Office: 420 W Merrick Road, Valley Stream, NY 11580

This Election Form must be completed and returned by mail. If mailed, it must be post-marked no later?
than 60 days after the date of this notice.

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If you do not submit a completed Election Form by the due date, you will lose your right to elect:
COBRA continuation coverage. If you reject COBRA continuation coverage before the due date, you:
may change your mind as long as you furnish a completed Election Form before the due date. However,
if you change your mind after first rejecting COBRA continuation coverage, your COBRA continuation:
coverage will begin on the date you furnish the completed Election Form.

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Read the important information about your rights included in the pages after the Election Form. cease

I (We) elect COBRA continuation coverage in the Local 298 Health Benefit Fund (the Plan) as
indicated below:

Name Date of Birth Relationship to Employee SSN (or other sew

auilsce = AH-O3- F|&C

 

 

 

 

  

 

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Print Address Telephone number G43 - Sff- SSaNGHf bit fz

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Important Information
About Your COBRA Continuation Coverage Rights

What is continuation coverage?

Federal law requires that most group health plans (including this Plan) give employees and their
families the opportunity to continue their health care coverage when there is a “qualifying event”
that would result in a loss of coverage under an employer’s plan. Depending on the type of
qualifying event, “qualified beneficiaries” can include the employee (or retired employee)
covered under the group health plan, the covered employee’s spouse, and the dependent children
of the covered employee.

Continuation coverage is the same coverage that the Plan gives to other participants or
beneficiaries under the Plan who are not receiving continuation coverage. Each qualified
beneficiary who elects continuation coverage will have the same rights under the Plan as other
participants or beneficiaries covered under the Plan, including open enrollment and special
enrollment rights.

 

How long will continuation coverage last?

In the case of a loss of coverage due to end of employment or reduction in hours of employment,
coverage generally may be continued for up to a total of 18 months. In the case of losses of
coverage due to an employee’s death, divorce or legal separation, the employec’s becoming
entitled to Medicare benefits or a dependent child ceasing to be a dependent under the terms of
the plan, coverage may be continued for up to a total of 36 months. When the qualifying event is
the end of employment or reduction of the employee's hours of employment, and the employee
became entitled to Medicare benefits less than 18 months before the qualifying event, COBRA
continuation coverage for qualified beneficiaries other than the employee lasts until 36 months
after the date of Medicare entitlement. This notice shows the maximum period of continuation
coverage available to the qualified beneficiaries.

Continuation coverage will be terminated before the end of the maximum period if:

® any required premium is not paid in full on time,

¢ a qualified beneficiary becomes covered, after electing continuation coverage, under
another group health plan that does not impose any pre-existing condition exclusion for a
pre-existing condition of the qualified beneficiary (note: there are limitations on plans’
imposing a preexisting condition exclusion and such exclusions will become prohibited
beginning in 2014 under the Affordable Care Act),

¢ a qualified beneficiary becomes entitled to Medicare benefits (under Part A, Part B, or
both) after electing continuation coverage, or

e the employer ceases to provide any| group health plan for its employees.

Continuation coverage may also be terminated for any reason the Plan would terminate coverage
of a participant or beneficiary not receiving continuation coverage (such as fraud).

How can you extend the length of COBRA continuation coverage?

If you elect continuation coverage, an extension of the maximum period of coverage may be
available if a qualified beneficiary is disabled or a second qualifying event occurs. You must

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notify the Fund Office of a disability or a second qualifying event in order to extend the period of
continuation coverage. Failure to provide notice of a disability or second qualifying event may
affect the right to extend the period of continuation coverage.

Disability

An 11-month extension of coverage may be available if any of the qualified beneficiaries is
determined by the Social Security Administration (SSA) to be disabled. The disability has to
have started at some time before the 60th day of COBRA continuation coverage and must last at
least until the end of the 18-month period of continuation coverage. Each qualified beneficiary
who has elected continuation coverage will be entitled to the 11-month disability extension if one

of them qualifies. If the qualified beneficiary is determined by SSA to no longer be disabled,
you must notify the Plan of that fact within 30 days after SSA’s determination.

Second Qualifying Event

An 18-month extension of coverage will be available to spouses and dependent children who
elect continuation coverage if a second qualifying event occurs during the first 18 months of
continuation coverage. The maximum amount of continuation coverage available when a second
qualifying event occurs is 36 months. Such second qualifying events may include the death of a
covered employee, divorce or separation from the covered employee, the covered employee’s
becoming entitled to Medicare benefits (under Part A, Part B, or both), or a dependent child’s
ceasing to be eligible for coverage as a dependent under the Plan. These events can be a second
qualifying event only if they would have caused the qualified beneficiary to lose coverage under
the Plan if the first qualifying event had not occurred. You must notify the Plan within 60 days
after a second qualifying event occurs if you want to extend your continuation coverage.

 

How can you elect COBRA continuation coverage?

To elect continuation coverage, you must complete the Election Form and furnish it according to
the directions on the form. Each qualified beneficiary has a separate right to elect continuation
coverage. For example, the employee’s spouse may elect continuation coverage even if the
employee does not. Continuation coverage may be elected for only one, several, or for all
dependent children who are qualified beneficiaries. A parent may elect to continue coverage on
behalf of any dependent children. The employee or the employee's spouse can elect continuation
coverage on behalf of all of the qualified beneficiaries.

In considering whether to elect continuation coverage, you should take into account that you
have special enrollment rights under federal law. You have the right to request special
enrollment in another group health plan for which you are otherwise eligible (such as a plan
sponsored by your spouse’s employer) within 30 days after your group health coverage ends
because of the qualifying event listed above. You will also have the same special enrollment
right at the end of continuation coverage if you get continuation coverage for the maximum time
available to you,

How much does COBRA continuation coverage cost?

Generally, each qualified beneficiary may be required to pay the entire cost of continuation
coverage. The amount a qualified beneficiary may be required to pay may not exceed 102
percent (or, in the case of an extension of continuation coverage due to a disability, 150 percent)
of the cost to the group health plan (including both employer and employee contributions) for
coverage of a similarly situated plan participant or beneficiary who is not receiving continuation

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coverage. The required payment for each continuation coverage period for each option is
described in this notice.

When and how must payment for COBRA continuation coverage be made?
First payment for continuation coverage

If you elect continuation coverage, you do.not have to send any payment with the Election Form.
However, you must make your first payment for continuation coverage not later than 45 days
after the date of your election. (This is the date the Election Notice is post-marked, if mailed.) If
you do not make your first payment for continuation coverage in full not later than 45 days after
the date of your election, you will lose all continuation coverage rights under the Plan. You are
responsible for making sure that the amount of your first payment is correct. You may contact
the Fund Office to confirm the correct amount of your first payment.

Periodic payments for continuation coverage

After you make your first payment for continuation coverage, you will be required to make
periodic payments for each subsequent coverage period. The amount due for each coverage
period for each qualified beneficiary is shown in this notice. The periodic payments can be made
ona monthly basis. Under the Plan, each of these periodic payments for continuation coverage is
due on the first day of the month for that coverage period. If you make a periodic payment on or
before the first day of the coverage period to which it applies, your coverage under the Plan will
continue for that coverage period without any break. The Plan will not send periodic notices
of payments due for these coverage periods.

 

Grace periods for periodic payments

Although periodic payments are due on the dates shown above, you will be given a grace period
of 30 days after the first day of the coverage period to make each periodic payment. Your
continuation coverage will be provided for each coverage period as long as payment for that
coverage period is made before the end of the grace period for that payment. However, if you
pay a periodic payment later than the first day of the coverage period to which it applies, but
before the end of the grace period for the coverage period, your coverage under the Plan will be
suspended as of the first day of the coverage period and then retroactively reinstated (going back
to the first day of the coverage period) when the periodic payment is received. This means that
any claim you submit for benefits while your coverage is suspended may be denied and may
have to be resubmitted once your coverage is reinstated.

If you fail to make a periodic payment before the end of the grace period for that coverage
period, you will lose all rights to continuation coverage under the Plan.

Your first payment and all periodic payments for continuation coverage should be sent to:
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Local 298 Health Benefit Fund

420 W Merrick Road

Valley Stream, NY 11580

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For more information

This notice does not fully describe continuation coverage or other rights under the Plan. More
information about continuation coverage and your rights under the Plan is available in your
summary plan description or from the Plan Administrator.

If you have any questions concerning the information in this notice, your rights to coverage, or if
you want a copy of your summary plan description, you should contact the Fund Office.

For more information about your rights under ERISA, including COBRA, the Health Insurance
Portability and Accountability Act (HIPAA), and other laws affecting group health plans, visit
the U.S. Department of Labor’s Employee Benefits Security Administration (EBSA) website at
www.dol.gov/ebsa or call their toll-free number at 1-866-444-3272. For more information about
health insurance options available through. a. Health Insurance Marketplace, visit
www.healthcare.gov.

Keep Your Plan Informed of Address Changes

In order to protect your and your family’s rights, you should keep the Plan Administrator
informed of any changes in your address and the addresses of family members. You should also
keep a copy, for your records, of any notices you send to the Plan Administrator.

Paperwork Reduction Act Statement

According to the Paperwork Reduction Act of 1995 (Pub. L. 104-13) (PRA), no persons are
required to respond to a collection of information unless such collection displays a valid Office
of Management and Budget (OMB) control number. The Department notes that a Federal
agency cannot conduct or sponsor a collection of information unless it is approved by OMB
under the PRA, and displays a currently valid OMB control number, and the public is not
required to respond to a collection of information unless it displays a currently valid OMB
control number. See 44 U.S.C. 3507. Also, notwithstanding any other provisions of law, no
person shall be subject to penalty for failing to comply with a collection of information if the
collection of information does not display a currently valid OMB control number. See 44 U.S.C.
3512.

The public reporting burden for this collection of information is estimated to average
approximately four minutes per respondent. Interested parties are encouraged to send comments
regarding the burden estimate or any other aspect of this collection of information, including
suggestions for reducing this burden, to the U.S. Department of Labor, Office of the Chief
Information Officer, Attention: Departmental Clearance Officer, 200 Constitution Avenue,
N.W., Room N-1301, Washington, DC 20210 or email DOL_PRA_PUBLIC@dol.gov and
reference the OMB Control Number 1210-0123.

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LOCAL 298 HEALTH BENEFIT FUND
420 W MERRICK ROAD
VALLEY STREAM, NY 11580
516-872-6690

CERTIFICATE OF PRIOR
GROUP HEALTH PLAN COVERAGE

IN COMPLIANCE WITH THE HEALTH INSURANCE PORTABILITY &
ACCOUNTABILITY ACT OF 1996, LOCAL 298 HEALTH BENEFIT FUND CONFIRMS
PARTICIPATION IN THE EMPLOYER SPONSORED HEALTH BENEFIT PLAN. YOU

. MAY NEED TO FURNISH THIS CERTIFICATE IF YOU BECOME ELIGIBLE UNDER A...
GROUP HEALTH PLAN, WHICH EXCLUDES. COVERAGE FOR CERTAIN MEDICAL
CONDITIONS YOU MAY HAVE HAD BEFORE YOU ENROLLED IN THEIR PLAN.

THIS CERTIFICATE MAY NEED TO BE PROVIDED, IF MEDICAL ADVICE,
DIAGNOSIS, CARE OR TREATMENT AS RECOMMENDED OR RECEIVED, FOR THE
CONDITION, WITHIN THE 6 MONTH WAITING PERIOD PRIOR TO YOUR
ENROLLMENT IN THE NEW PLAN. CHECK WITH THE ADMINISTRATOR OF YOUR
NEW PLAN TO SEE iF YOU NEED TO PROVIDE THIS CERTIFICATE. YOU MAY
ALSO NEED THIS CERTIFICATE TO BUY, FOR YOURSELF, OR YOUR FAMILY, A
HEALTH INSURANCE POLICY THAT DOES NOT EXCLUDE COVERAGE FOR
MEDICAL CONDITIONS THAT ARE PRESENT BEFORE YOU ENROLL.

1. DATE ISSUED: December 27, 2018

NAME OF GROUP HEALTH PLAN: LOCAL 298 HEALTH BENEFIT FUND
PARTICIPANTS NAME: TIMOTHY KOHLHAUS |
IDENTIFICATION NUMBER OF PARTICIPANT: XXX-XX-XXXX

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NAME, ADDRESS OF PLAN ADMINISTRATOR OR ISSUER RESPONSIBLE FOR
PROVIDING THIS CERTIFICATE:

LOCAL 298 HEALTH BENEFIT FUND
420 WEST MERRICK ROAD
VALLEY STREAM, NY 11580

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6. FOR FURTHER INFORMATION CALL: 516-872-6690
7. DATE COVERAGE BEGAN: 7/1/2018
8. DATE COVERAGE ENDED: 1o/a1/18

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